         Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ALBANY DIVISION

INDIA TERESA CROSS,                               *
                                                  *
       Plaintiff,                                 *
                                                  *          CIVI     ACTION
vs                                                *          FILE NO.
                                                  o
                                                  o
WAL-MART STORES EAST, LP,
(DELAWARE)                                                   COMPLAINT FOR DAMAGES
                                                  *
                                                  *          JURY TRIAL DEMANDED
                                                  *
       Defendant.                                 *

                                             COMPLAINT

       Plaintiff INDIA TERESA CROSS, by and through her undersigned counsel, hereby files this

Complaint against WAL-MART STORES EAST, LP ("Defendant"), stating as follows:

                                                 PART        I
                               PARTIES AND                       SDICTION

                                                        l.
       Plaintiff is a resident of Irwin County, Georgia.

                                                        2.

       Defendant is a foreign limited partnership formed under the laws of the State of Delaware,

which is authorized to conduct business in the State of Georgia         as a   foreign entity. Defendant may be

served with the sufirmons and complaint by serving its registered agent for service of process in the

State of Georgia, which is CT Corporation System and whose address is 289 S. Culver Street,

Lawrenceville, Gwinnett County, Georgia 3 0046-4805.




                                India Teresa Cross v. Wal-Mart Stores East. LP
                            United States Diskict Court, Middle District of Georgia
                                                 Page   I of12
           Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 2 of 12




                                                        3.


       Defendant is subject to personal jurisdiction in this Court by virtue of its regularly conducted,

systematic, and continuous business activities within and throughout the State of Georgia by

engaging   in an ongoing retail enterprise throughout the State of Georgia and by advertising,

marketing, and selling goods at Wal-Mart Store No. 686 located at 120 Benjamin H Hill Drive W,

Fitzgeruld,Ben Hill County, Georgia 31750. As such, Defendant has purposefully availed itself              of

the privilege and benefit of conducting business within this State, and Defendant has established

minimum contacts with the State of Georgia and within this Judicial District, such that Defendant

should reasonably and fairly anticipate being haled into court in this Judicial District'.

                                                       4.

       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. $ 1332

because the matter in controversy exceeds the sum of $75,000.00 and because             it is between citizens

ofdifferent   states.

                                                       5.


       Venue is proper in this Court pursuant to 28 U.S.C. $ 1391(bX2) because a substantial part           of

the events giving rise to Plaintiffs' claims occurred in Ben Hill County, Georgia, which is situated

within the district and divisional boundaries of the Albany Division of the Middle District of

Georgia.

                                                  PART       II
                                                   FACTS

                                                        6.

        At all times relevant to the subject incident, Defendant operated Wal-Mart Store No. 686



                                 India Teresa Cross v. Wal-Mart Stores East. LP
                             United States District Court, Middle District of Georgia
                                                  Page2 of12
          Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 3 of 12




located atl2}Benjamin H Hill Drive W, Fitzgerald, Ben Hill County, Georgia 31750 (the "Store").

                                                         7.


        On February 26,2020, the Store was open to the general public.

                                                         8.


        On the aforesaid date, Plaintiff entered the Store for the pulpose of shopping and was present

on said premises as an invitee of Defendant.

                                                         9.


        After completing her shopping, Plaintiff walked toward the doorways              at the front   ofthe Store

in order to exit the premises.

                                                          10.


        As she approached the doorways, Plaintiff reached a dark-colored floor mat or rug (the

'oBUg") that had been placed on the Store's         floor in front of a commercial ice fteezer and which

extended past the ice freezer toward the Store's front doors.

                                                          11.


        The edge of the Rug was turned upwards, rather than layrng flat on the ground, which created

ahazard for persons walking on or over the Rug.

                                                          t2.

        The upturned edge of the Rug caught Plaintiff s foot as she stepped across the Rug, causing

Plaintiff to trip and fall to the ground.

                                                          13.


        When she fell, Plaintiff   s   left knee struck the hard ground, causing an injury to that knee,

and the momentum of the      fall further caused     a forceful impact      with her right hip.




                                  India Teresa Cross v. Wal-Mart Stores East. LP
                              United States District Court, Middle District of Georgia
                                                   Page 3   of   12
            Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 4 of 12



                                                          14.

       Immediately before the fall, an employee of Defendant, who was wearing a store uniform

and a yellow vest, was stationed in the immediate         vicinity ofthe Rug and was facing in the direction

of the Rug.

                                                          15.


       Despite standing directly in front ofthe Rug and being well positioned to observe the Rug's

condition and positioning, Defendant's employee either failed to notice that the Rug had        an   uptumed

edge or,   if he did notice it, he failed to take any corrective action or issue any warning to customers

and other invitees who were passing by.

                                                           t6.

        Immediately after Plaintiffs fall, the above-mentioned employee as well as another

employee of Defendant rushed over to Plaintiff, who was then lying on the ground in physical

distress, to provide assistance.

                                                           17.

        Prior to crossing over the Rug, Plaintiff did not see that the edge ofthe Rug was uptumed and

that it therefore posed a risk of tripping.

                                                           18.


        The fact that the edge of the Rug was turned upwards was not readily apparent to the average

person shopping in the Store.

                                                           19.

           The upturned edge of the Rug constituted a hazardous condition for Plaintiff and other

customers and invitees present at the Store.




                                   India Teresa Cross v. Wal-Mart Stores East. LP
                               United States District Court, Middle District of Georgia
                                                    Page 4   of   12
         Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 5 of 12




                                                       20.

       Defendant failed to warn Plaintiff or other invitees of the Store of the dangerous condition

created by the upturned edge of the Rug.

                                                       2r.

       Because she was unaware of the hazard, Plaintiff was unable to take any action to avoid

tripping and falling as she crossed over the Rug.

                                                       22.

       Defendant knew or should have known by virtue of its employees' location in the immediate

vicinity of the hazard of the danger posed by the positioning and condition of the Rug.

                                                       23.

       Despite possessing actualor constructive knowledge of the risk posed by the upturned edge

of the Rug, Defendant did not take any corrective action with respect to the Rug nor did it wam its

customers and other invitees of the danger.

                                                 PART     III
                              NEGLIGENCE OF DEFENDAIIT

                                                        24.

       The allegations of Paragraphs I through 23 of Plaintifls Complaint are hereby incorporated

by reference and made aparthereof as if each such allegation were fully set forth herein.

                                                        25.

       Defendant failed to keep its prernises safe for invitees and customers of the Store.

                                                        26.

       Defendant had an affirmative duty to keep the premises safe for invitees and customers ofthe




                                India Teresa Cross v. Wal-Mart Stores East. LP
                            United States District Court, Middle District of Georgia
                                                  Page 5 of 12
             Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 6 of 12




Store, which included Plaintiff.

                                                          27.

         Defendant and its employees andlor agents owed a duty to Plaintiff and to other invitees and

customers of the Store to exercise ordinary care to keep its premises safe.

                                                          28.

         Defendant and its employees and/or agents owed a duty to Plaintiff and to other invitees and

customers ofthe Store to inspect the premises to discoverpossible dangerous conditions and to take

reasonable precautions to protect invitees from known and foreseeable dangers.

                                                          29.

         Defendant and its employees andlor agents breached the duty of care that they owed to

Plaintiff,   as an invitee present on Defendant's premises,          by failing to address the Rug's upturned

edge.

                                                          30.

         Defendant was negligent in, among other possible acts or omissions, the following ways:

    a)   By violating O.C.G.A. $ 51-3-l through Defendant's failure to exercise ordinary care in

         keeping its premises and approaches safe;

    b)   In failing to keep the floor of its Store over which it had control safe for its customers and

         other invitees; and

    c)   In failing to exercise due care to properly inspect the areain which the Rug was placed to

         discover and address the dangerous condition; and

    d)   In failing to wam Plaintiff and its other invitees and customers of the existence of an unsafe

         and dangerous condition on the floor of the Store;




                                   India Teresa Cross v. Wal-Mart Stores East. LP
                               Unit€d States District Court, Middle District of Georgia
                                                     Page 6 of 12
          Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 7 of 12




   e) In failing to properly     train and supervise its employees with regard to the care of the

        premises; and

   f)   In failing to protect Plaintiff and other invitees and customers of the store by either removing

        the Rug or causing the Rug to lay flat against the ground.

                                                         31.

        Plaintiff further shows that the negligence of Defendant was a direct and proximate cause of

the injuries sustained by her.

                                                  PART IV

                                   LIABILITY OF DEFENDANT

                                                         32.

        The allegations ofParagraphs I through 31 ofPlaintiff s Complaint are hereby incorporated

by reference and made aparthereof as if each such allegation were fully set forth herein.

                                                          33.

        Defendant and its employees and/or agents were responsible for the condition of the floor in

the Store on the day of the subject incident, including, without limitation, the positioning and

condition of the Rug.

                                                          34.

        Defendant, by and through its officers, managers, employees, and/or agents, negligently

allowed the Rug to lie in ahazardous position, and they fuither negligently failed to warn others     of

the dangerous condition.

                                                          35.

        Defendant is vicariously liable for the negligence of its employees andlor agents under the




                                  India Teresa Cross v. Wal-Mart Stores East. LP
                              United States District Court, Middle District of Georgia
                                                    PageT ofl2
          Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 8 of 12




theory of respondeat superior.

                                                   PART V

                            PERSONAL INJURIES TO PLAINTIFF

                                                         36.

        The allegations ofparagraphs I through 35 of Plaintiffls Complaint are hereby incorporated

by reference and made aparthereof, as if each such allegation were fully set forth herein.

                                                         37.

        As a direct and proximate result of the aforesaid negligence of Defendant, Plaintiff was

physically injured, and she experienced pain and suffering as a result of said injuries.

                                                         38.

        In the immediate aftermath of the fall, Plaintiff experienced pain on the inside and outside             of

her right hip that radiated into her buttocks, pelvic pain, and swelling and instability in her left knee.

                                                          39.

        In the months following the fall, the condition of Plaintiff           s   right hip continuously worsened,

resulting in increasing pain and instability.

                                                          40.

        Eventually the condition of her right hip deteriorated to the point that Plaintiff could no

longer walk without the assistance of a cane and now a walker.

                                                         4t.

        Plaintiffhas been diagnosed with severe osteoarthritis with avascularnecrosis ofthe femoral

head, which is a condition that can result from a trauma such as a fall.




                                  India Teresa Cross v. Wal-Mart Stores East. LP
                              United States District Court, Middle District of Georgia
                                                   Page 8 of 12
          Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 9 of 12




                                                            42.

        Plaintiff will require   a   full hip replacement      as a result   of this condition, and she is presently

scheduled to undergo the surgery on July 14,2021.

                                                            43.

        Plaintiffhad never experienced or complained of pain or instability in either ofherhips prior

to the subject fall.

                                                            44.

        The subject fall is the direct and proximate cause of the injuries to Plaintiff s left knee,

pelvis, and right hip.

                                                               45.

        By reason of the foregoing, Plaintiff is entitled to recover past, present, and future

compensatory damages from Defendant in such an amount as may be shown by the evidence and as

may be determined by the enlightened conscience of the jury, and she is entitled to recover for her

impaired ability to labor, loss of eamings, and loss of eaming capacity.

                                                      PART VI

                             MEDICAL                                 OF'PLAINTIFF

                                                             46.

        The allegations ofparagraphs         I through    45   ofPlaintiff s Complaint      are hereby   incorporated

by reference and made aparthereof, as if each such allegation were fully set forth herein.

                                                            47.

        As a direct and proximate result of the aforesaid negligence of Defendant, Plaintiff has

required treatment with physicians, physical therapists, and other health are providers, and she will




                                     India Teresa Cross v. Wal-Mart Stores East. LP
                                 United States District Court, Middle District of Georgia
                                                      Page 9   of 12
         Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 10 of 12




continue to require medical treatment in the future.

                                                           48.

        Because ofher injuries sustained in the subject fall, Plaintiffhas incurred medical expenses

as of the date   of filing of this Complaint and will incur future medical expenses, including, without

limitation, the cost of the hip replacement surgery referenced above.

                                                            49.

        By reason of the foregoing, Plaintiff is entitled to recover from Defendantanamount equal to

the cost of her past and future medical bills and related expenses resulting from the subject fall in an

amount to be shown by the evidence and proven               attial.
                                                    PART      VII
  ATTORNEY'S          F'E,ES   AND EXPENSES OF I,ITIGATION UNDER O.C. (}-A. E 13-6-11

                                                           50.

        The allegations ofparagraphs I through 49 of Plaintiff s Complaint are hereby incorporated

by reference and made aparthereof, as if each such allegation were fully set forth herein.

                                                            51.

        Defendant has caused Plaintiff unnecessary trouble and expense in having to bring this

lawsuit to enforce her rights and obtain compensation.

                                                            52.

        Plaintiff, by and through her undersigned counsel, sent Defendant a demand letter to

Defendant on April 2,202I (the "Demand Letter"). The Demand Letter was sent by electronic mail

and by Federal Express overnight delivery, and            it was successfully delivered to Defendant.

                                                            53.




                                    India Teresa Cross v. Wal-Mart Stores East. LP
                                United States District Court, Middle District of Georgia
                                                      Page 10 of 12
           Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 11 of 12




          Having received no response from Defendant, Plaintiff s counsel sent Defendant               a   follow-up

email on May 7, 2021 (the "Follow-Up Email"), seeking an opportunity to discuss the Demand

Letter.

                                                               54.

          Defendant has never responded to the Demand Letter or the Follow-Up Email.

                                                               55.

          Defendant has acted in bad faith and has been stubbornly litigious, and Plaintiff is entitled to

recover from the Defendant her expenses of litigation, including, without limitation, reasonable

attorneys' fees, pursuant to O.C.G.A. $ 13-6-1 1.

          WHEREFORE, Plaintiff prays as follows:

          (a)     That process issue and service be had on Defendant;

          (b)     That judgment be granted in favor of Plaintiff and against Defendant for the personal

injuries of Plaintiff caused by the subject fall, making Defendant responsible for Plaintiff s past,

present, and future pain and suffering, including, but not limited to, mental anguish and loss                    of

capacity for enjoyment of life, and         Plaintiff s impaired ability to labor, loss of earnings,   and loss   of

earning capacity, in such an amount as shall be shown by the evidence and proven                 attial;
          (c)     That judgment be granted in favor of the Plaintiff against Defendant as payment for

the past medical expenses of        Plaintiff resulting from the subject fall, plus any other existing or future

medical expenses in such an amount as shall be shown by the evidence and proven                  attial;

          (d)    That Plaintiffbe awarded reasonable attorney's fees and expenses oflitigation against

Defendant;

          (e)     That   a   jury trial be had on all issues so triable;



                                       India Teresa Cross v. Wal-Mart Stores East. LP
                                   United States District Court, Middle District of Georgia
                                                        Page 11   of12
        Case 1:21-cv-00121-LAG Document 1 Filed 07/02/21 Page 12 of 12




       (D      That Plaintiff recovers the cost of this action; and

       (g)     That such other and furtherreliefbe granted as this Court may deem just and proper

       Respectfully submitted this 30ft day of June, 2021.

                                                            LANGDALE VALLOTTON, LLP



                                                            J           R.
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                                                                         for Plaintiff

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                                India Teresa Cross v. Wal-Mart Stores East. LP
                            United States District Court, Middle District of Georgia
                                                 Pagel2   ofl2
